~ a

_Case 2:18-cr-80149-JAM Document6 Filed 07/18/18 Page 1 of 37
AO 91 (Rev, 11/11) Criminal Compiaiat

 

 

 

 

 

, UNITED STATES DISTRICT COUE
for the
Eastern District of California
United States of America )
¥. )
). Case No
. )
Domingo Ene —
Joshua Hopoi ) aye-M- 133° Ab
Defendans(s)
CRIMINAL COMPLAINT
I, the complainant iti this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of. _ April 9, 2018; July 9, 2018 inthe county of ___Sacramento in the
Eastern District of Califomia _ , the defendant(s) violated:
. Cade Section Offense Description
18 U.S.C. § 1708 . Theft and possession of stolen U.S. Mai!
Domingo Ene: On or about April 9, 2018 eE
Joshua Hopoi: On or about July 9, 2018
JUL 18 2018
CLERK, U.S. DIST
EASTERN DISTRIGT OF CAL POUNIA

This criminal complaint is based on these facts: — ” CERT CLEAR

(see attachment) |

Continued on the attached sheet.

 

Roxanne LeMaire, U.5. Postal Inspector
Printed name and title

Swom to before me and signed in my presence.

 

 

, ~
‘ ° Judge's signature
| City and state: S-x étarh CA Allison Claire, U.S. Magistrate Judge

Printed name and title

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 2 of 37

AFFIDAVIT OF POSTAL INSPECTOR ROXANNE LeMAIRE IN SUPPORT OF
CRIMINAL COMPLAINT AND SEARCH WARRANTS

I, Roxanne LeMaire, being duly sworn, depose and state the following.
PURPOSE
1. This Affidavit is made in support of applications under Rule 41 of the
Federal Rules of Criminal Procedure for warrants to search and seize evidence, fruit,
and/or instrumentalities of certain offenses as described in Attachment B, at the following
locations as more fully described in Attachment A:

a. Roseville, California, 95747, as further

described in Attachment A-1
». Ss. Sacramento, California, 95823, as further

described in Attachment A-2

c. The workroom locker for Joshua Hopoi at Sacramento International
Airport, as further described in Attachment A-3

d. EE, Sacramento, California, 95828, as further
described in Attachment A-4

e: 2007 Blue Toyota Corolla with California license plate I. as
further described in Attachment A-5 |

f. The workroom locker for Raymond Su at Sacramento International
Airport, as further described in Attachment A-6 .

g. Raymond Su’s person, further described in Attachment A-7.

2. This Affidavit is also made in support of a criminal complaint and arrest
warrants for the following individuals for violations of 18.U.S.C. § 1708, theft and
possession of stolen U.S, Mail: |

a. Domingo ENE (theft and possession of Amazon gift card on or about _
April 9, 2018)

Affidavit | | Page 1

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 3 of 37

b. Joshua HOPO] (theft.and possession of greeting cards that were seized
_ from trash on July 9, 2018)

INTRODUCTION AND AGENT BACKGROUND
3. I am a Postal Inspector and have been so employed since February 2 2006.

Currently, I am assigned to the San Francisco Division of the United States Postal
Inspection Service (U SPIS), and I work out of the Sacramento office. During my tenure I
have completed training at the United States Postal Inspection Service Academy in
Potomac, MD. As a part of my official duties, it is my responsibility to investigate
violations of federal and state law, including robbery and burglary of postal facilities,
destruction of government property, theft of U.S. Mail, possession of stolen U.S. Mail,
mail and bank fraud, ctedit card fraud, identity theft and/or counterfeit personal checks
and identifications. As an Inspector with the USPIS, I have participated in investigations
relating to theft of U.S. Mail, possession of stolen U.S. Mail, counterfeit corporate checks,
counterfeit personal checks, bank fraud, identity theft and counterfeit identifications.

4. The facts and conclusions in this affidavit are based on my personal
knowledge gained from my participation in this investigation, my training and experience,
and information gained from other Inspectors, Agents, local law enforcement, and field
contacts and reports. Since this affidavit is submitted for the limited purpose of obtaining

_ search warrants and a complaint, I have not included all of the facts of which I am aware

'. in this investigation.

' 5. [believe that there is probable cause to believe that the following
individuals:
¢ DOMINGO ENE (date of birth as.
2 JOSHUA HOPOI (date of birth I.
e RAYMOND SU (date of birth

Affidavit | . ‘Page 2

 
Case 2:18-cr-00149-JAM Document 6. Filed 07/18/18 Page 4 of 37

| have violated or aided and abetted violations of the following federal criminal law: 18
USC. § 1708 (theft and possession of U.S. Mail). Further, I believe that there is probable
cause to believe that evidence, fruit, and/or instrumentalities of these violations are
currently to be found at the locations in Attachment A.

6. The USPIS is investigating a criminal scheme that began at a time
unknown to the United States but at least Starting on or about April 9, 2018, and currently
is on-going, wherein perpetrators working for Envoy, a contractor for American Airlines,
are stealing U.S. Mail. These perpetrators have access to U.S. Mail that is being delivered
from out of state by arriving American Airlines flights that are destined for Sacramento
Postal District residences, Additionally, these perpetrators have’access to U.S. Mail that is
outgoing from Sacramento Postal District and is scheduled for American Airlines flights
departing to other states for processing and delivery to customers. Based on my
investigation and law enforcement surveillance, the perpetrators appear to be associated
with the locations to be searched, as stated below. |

7. Although this affidavit describes probable cause for theft and possession of
U.S. mail on numerous occasions between April and July 2018, only the following |
instances are being charged in the complaint: Domingo Ene is being charged with theft
and possession of an Amazon gift card from the mail on or about April 9, 2018. Joshua
Hopoi i is being charged with theft and possession of the greeting cards found in the trash

Te Sacramento, CA, on or about July 9, 2018.

STATEMENT OF PROBABLE CAUSE
8. On June 1, 2018, I received notification about possible stolen U.S. Mail
| from the Sacramento Airport post office, which is located in Sacramento County. It
appeared that incoming mail from flights that had arrived via American Airlines had been
rifled. I contacted Postal Supervisor Moral about the incident and was informed that there -
‘are many trays of U.S. Mail that appear to have been rifled through, as the straps to secure

Affidavit | a Page 3

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 5 of 37

the tray of U.S. Mail have been broken off from the trays. ‘When a review was conducted
of the U.S. Mail in the multiple trays, it appeared the U.S. Mail had been rifled, as it was
not in order and together as a normal tray of mail that has been processed.

9, American Airlines transports some of the U.S. Mail that is mailed from
- Sacramento (outgoing mail) and U.S. Mail that comes to the Sacramento Postal District
(incoming mail). To process the mail, American Airlines contracts with a separate
company, Envoy. Envoy employees are responsible for loading mail from the Sacramento
Airport Post Office onto American Airlines planes for distribution throughout the United |
States. They are also responsible for unloading mail from American Airlines planes and
delivering it to the Sacramento Airport Post Office so it can be transported to the West
Sacramento Plant and Distribution Center for processing and delivery.

10. TL requested that USPIS Sr. Technical Surveillance Specialist Sha place an
undercover camera on the dock at the Sacramento Airport Post Office. On June 6, 2018, a
camera was installed and on June 22, 2018, a second undercover camera was installed to
have a different view of the dock area where mail is worked by the airlines.

11, On June 5, 2018, USPS Postal Supervisor Moral spoke with two Envoy
employees who are contracted via American Airlines to transfer and distribute the mail to
and from the airplanes, and who he suspected were possibly stealing U.S. mail because the
mail appeared rifled after they left. The two individuals gave their names to Postal
Supervisor Moral as “Josh” and “Dom.” Postal Supervisor Moral also provided a —
description of both males as Pacific Islanders.

Review of Video Surveillance .

12. On June 14, 2018, I began reviewing surveillance video from the Post ©
Office dock. On June 19, 2018, I met with staff of the Airport Security office and
provided screen shots of three different unknown males from the USPIS undercover
surveillance cameras from June 6 -16, 2018. Dave Rivera from the Airport Security office

Affidavit. . Page 4
Case 2:18-cr-00149-JAM Document 6 Filed:07/18/18 Page 6 of 37 ©

reviewed the pictures of the three unknown males and then reviewed the Envoy badging
pictures that were on file with their system, which was approximately 40-60 employees. .
~ Rivera identified the three individuals as Joshua Hopoi, Domingo Ene, and Raymond Su,
When reviewing video surveillance, I compared the appearance of the people in the video
surveillance to the people in the screen shots that Rivera had identified. | . .

13, Also, the Airport Security office provided a report of the badge activity for |
' the post office. Employees are required to use their badge when they leave the post office
and enter the secured area of the Airport tarmac. The office told me that when two
employees are leaving together, they are both supposed to use the badges. However, based
on my review of the badge reports, it appears that when two employees are working
together, usually only one person will use their badge to exit the facility and reenter the
secured area of the tarmac. The picture that I provided to Airport security for Hopoi was
from June 14, 2018, at approximately 12:09 pm. According to the badge report, the badge |
- assigned to Hopoi was used to exit from the postal facility to the airport tarmac. at 1:00
pm. The picture that I provided to Airport Security for Su was from June 16, 2018, at
approximately 12:29 pm. According to the badge report, the badge assigned to Su was
used to exit the postal facility at 12:35 pm. The picture that ] provided to Airport Security
~ for Ene was from June 8, 2018, at approximately 12:32 am. According to the badge report,
the badge assigned to Ene was used to exit the postal facility at 12:57 am. 1 confirmed
that the three individuals in the pictures from the post office had appearances consistent
with the photographs in the badging reports for Hopoi, Ene, and Su.

14. In the video surveillance, on June 6, 2018 at approximately 7:46 pm,
Joshua Hopoi,! appeared to be rifling multiple trays of U.S. Mail. At 8:00 pm, Hopoi
grabbed a shirt from the left side of the baggage cart where he had been rifling US. Mail

 

! Throughout the video surveillance section of this affidavit, when I refer to Hopoi, Su, or
Ene, I am saying that the person in the video had an appearance consistent with that
individual in the screen shots that Dave Rivera had identified.

Affidavit | | | | Page 5
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 7 of 37

and placed his shirt inside the tug (a small vehicle that moves baggage carts from place to
place at the airport). Airport badge reports reflect that the badge assigned to Hopoi was
used to exit the postal facility at 8:21 pm. On June 6, 2018, Hopoi retumed to the Post
office around 11:50 pm and walked up to the baggage cart with a sweatshirt in his hand.

‘ Hopoi opened the baggage cart and placed the shirt on the floorboard of the cart. Between
12:00 am — 12:02 am on June 7, 2018, Hopoi is seen on good quality surveillance video -
opening multiple trays of U.S. Mail and stealing multiple pieces. While Hopoi continued
to go through different trays of U.S. Mail, he also looked around towards both doors of the
Post Office where USPS employees could exit. At 12:02 am, Hopoi grabbed his sweatshirt
and placed US. Mail inside the shirt. Hopoi then worked a couple of trays of mail, placing
them into the Over the Rail containers (OTR), which are used for transportation to the
West Sacramento Plant and Distribution Center. Between 12:09 am — 12:14 am, Hopoi
again can be seen on surveillance camera opening multiple trays of U.S. Mail and stuffing
the mail into his shirt, which is laying on the baggage cart floorboard. At 12:26. am, Hopoi
grabbed his shirt containing the stolen U.S. Mail and walked towards the tug to leave the
facility. Airport badge reports reflect that the badge assigned to Hopoi was used to exit the
facility at 12:41 am.

15. | In the surveillance video, on June 8, 2018 at 1:21 pm, Hopoi took off his
sweatshirt and placed it into the baggage cart, and he immediately began to open multiple
trays of U.S. Mail. At 1:24 pm, Hopoi stuffed his shirt with stolen U.S. Mail and walked
towards the tug to leave the facility. Airport badge reports reflect that the badge assigned
to Hopoi was used to exit the facility at 1:34 pm.

16. — Inthe surveillance video, on June 8, 2018 at 12:32.am, Domingo Ene can
be seen on good quality surveillance video walking to the tug with a large stack of what
‘appears to be mail concealed in his safety vest, which he placed inside the tug and then he
left the facility, Airport badge reports reflect that the badge assigned to Ene was used to

_ exit the facility at 12:57 am. Ene was not captured on camera unloading the mail, because

Affidavit _ . | . Page 6
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 8 of 37

another airline had dropped off mail at the same time and had parked in front of the OTR
containers, which is the area that the surveillance camera is fixed on. Multiple airlines
transport U.S. Mail, and therefore, there can be several airline or contractor employees at
the postal facility at the same time to drop off mail from an arriving flight or to retrieve
mail for their outgoing flight. | |

17. In the surveillance video, on June 12, 2018 at 8:12 am, Hopoi and
Raymond Su were at the postal facility. Hopoi was observed on surveillance images
rifling trays of U.S. Mail. At 8:13 am, Hopoi removed his sweatshirt and placed it on the
floorboard of the baggage cart, Su continued to work the mail by scanning each tray of
U.S. Mail and taking the tray from the baggage cart to the OTR container, and while
working the trays of U.S. Mail, he continued to watch the USPS doors for any USPS
employees exiting the facility while Hopoi continued to open trays of U.S. Mail. At 8: 15
am, a USPS employee walked towards them. Hopoi stopped and sat down on the baggage
cart where the shirt and U.S. Mail were, apparently in order to conceal the items, and he
began to use his cellular telephone. At 9:00 am through 9:02 am, Su began to open a tray
of U.S. Mail on the same side that Hopoi’s shirt was located. Su rifled through two trays
of mail. Once Su was done looking through the trays of U.S. Mail he threw the trays to
the left side of the baggage cart and closed the screens on the cart. Hopoi retrieved his
shirt with both hands. Based on the way Hopoi was carrying his shirt, using both arms, to
hold the shirt and holding it towards his chest, it appears that the shirt was used to conceal
the U.S. Mail. Hopoi then placed the shirt in the tug behind the seats. Airport badge
reports reflect that the badge assigned to Su was used to exit the facility at 9:03 am.
Airport policy is that both parties should use their assigned badge to access the secured
area, but there is no record of Hopoi using his badge at this time.

18. In the surveillance video, on June 14, 2018, Hopoi arrived at the postal
facility at 12:02 pm, and at 12:05 pm, he removed his sweatshirt and safety vest and
placed them on the roof of the baggage cart. At 12:06 pm, he moved the clothing to the

Affidavit | | Page 7
Case 2:18-cr-00149-JAM .Document 6 Filed 07/18/18 Page 9 of 37

baggage cart floorboard. At 12:09 pm, Hopoi looked around to see if any USPS
employees were around and looked at both exit doors to the facility. Hopoi began to open
up multiple trays of U.S. Mail and appeared to stuff stolen U.S. Mail inside of his clothing
items for almost 3 minutes. Between 12:18 pm and 12:25 pm, Hopoi continued to open
multiple trays of U.S. Mail and appeared to stuff the mail into his clothing items, while
looking around for any USPS employees exiting the postal facility doors and coming into
their loading area. At 12:26 pm, Postal Supervisor Samick entered the area and spoke to
Hopoi. On video surveillance, Hopoi can be seen trying to cover his clothing items by
blocking them with his body. Once Samick left to enter the facility with an OTR cart,
Hopoi pushed his clothing items concealing the U.S. Mail to the back of the baggage cart.
Hopoi continued to work the mail. At 12:28 pm, Hopoi grabbed his clothing items with
both hands, continuing to conceal the U.S. Mail, and placed them in the tug on the
passenger side. Hopoi continued to work the mail until his carts were empty. He left the
area and remained off camera until he left the facility. According to the Airport badge
report, he left at 1:00 pm. - .

19. Inthe surveillance video, on June 16, 2018, Hopoi and Su arrived at 12:29
pm. At 12:29 pm, Hopoi opened a baggage cart and immediately began to rifle mail.
Simultaneously, Su grabbed multiple OTR containers and placed them around Hopoi,
which concealed Hopoi from others. Su then walked to the other American Airlines
baggage cart already there, and he assisted the 2 females in unloading their mail from their
baggage carts. Hopoi did not place his first tray of mail into an OTR container until 12:31
pm. Then he continued to appear to rifle the mail until 12:33 pm, when he walked to the
passenger side of the tug with a handful of mail in his left hand and placed them behind
the passenger seat. They left at 12:34 pm. Airport badge reports reflect that the badge
assigned to Su was used to exit the facility at 12:35 pm.

20. When I say that someone “appears” to be rifling mail in the surveillance
video, I am basing that on the fact that the person will stand in one place for a long period

Affidavit. Page 8 —

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 10 of 37 —

of time, often bent over the inside of the baggage cart, and attempt to conceal themselves
from other people working in the area. In contrast, when they are actively working the
mail, it is a matter of seconds to scan the tray of U.S. Mail, pick it up and move it to the
OTR containers or to the baggage cart: In addition, when the video shows them standing
in one place and fumbling around, it often also shows them later carrying their sweatshirt
_ with both hands to the tug. It appears the sweatshirt is being used to conceal the items
being stolen. Since I see the behaviors that I have described in videos with clear views of
mail being rifled and stuffed into items of clothing, I believe that when those same-
behaviors occur in videos without a clear angle on the mail, itis likely that the individuals
are rifling the mail. In this affidavit, I use the word “appears” to distinguish the latter
instances from the videos with clear views of the mail being rifled.

| 21. Inthe surveillance video, on June 19, 2018, Hopot arrived at 8:23 am. At
8:24 am, Hopoi covered himself with an OTR container and was not moving much. He
appeared to be rifling mail until 8:46 am, and again from 8:48 - 8:49 am. At 9:16 am,
Hopoi retrieved his vest from the baggage cart and placed it inside the tug. At 9:17 am, he
walked to the passenger side of the tug and appeared to be fumbling around with the
passenger door and concealing the stolen U.S. Mail. Hopoi then walked to the driver side
and got inside the tug and put his vest on at 9:18 am. Hopoi appeared to be working with
something on the passenger seat and left at 9:19 am. Airport badge reports reflect that the
badge assigned to Hopoi was used to exit the facility at 9:19'am. |

22. In the surveillance video, on June 19, 2018, Su arrived at 12:29 pm. Su

went off camera multiple times and was out of view. There were multiple straps inside the
baggage cart when he was finished with transferring the U.S. Mail from the baggage cart
’ to the OTR container. These straps are intended to help secure the cardboard that is
around the tray of mail, so that no mail is lost out of the tray while the mail is being -
transported. The straps are not supposed to be removed by people in the role that Su, Ene,
and Hopoi have. At 12:31 pm, Su grabbed the last tray of mail and was off camera for . |

Affidavit | Page 9
Case 2:18-cr-00149-JAM Document6. Filed 07/18/18 Page 11 of 37

almost a full minute. He returned and retrieved the straps from the baggage cart to throw

them in the trash can. Su returned to the baggage cart at 12:32 pm, was off camera again
for 45 seconds, and left at 12:33 pm. Airport badge reports reflect that the badge assigned
to Su was used to exit the facility at 12:34 pm.

23. In the surveillance video, on June 24, 2018, Su and an unknown male
arrived at the postal facility. Between 12:13 - 12:14 pm, Su was inside the OTR container,
looking around and appearing to be rifling mail. When he left the OTR container, he had a
strap in his hand, which he threw away, and they left.

_ 24, ‘In the surveillance video, on June 26, 2018, Hopoi and Ene arrived at 6:38
pm. Ene was covered by OTR containers, and Hopoi was to his right working mail and
transferring the mail to the OTR containers. At multiple times, Ene stood in one place for
long periods of time and appeared to be rifling mail. Hopoi walked over to place a -
container closer to the post office at 6:55 pm and then walked to another container and
began to rifle mail. At 6:56 pm, Hopoi was lifting his shirt and appeared to be placing the
mail inside the front of his pants, covered by his shirt, and he walked back toward Ene. At

6:57 pm, Hopoi walked to the passenger side of the tug. However, due to where they were
parked, I cannot see what he was doing at the tug. At 6:59 pm, Hopoi walked to the other
side of the baggage cart that Ene had been working on. At 7:00 pm , Hopoi can be seen

_ leaving the baggage cart and walking to the tug with a bag or vest in hand. About 15
seconds later, Hopoi returned to Ene and the baggage cart to assist with rolling the
containers towards the post facility. They leave the area of the camera at 7:02 pm. Airport
badge reports reflect that the badge assigned to Ene was used to exit the facility at 714°
pm. . | | .

25, Ino the surveillance video, on June 26, 2018, Hopoi and Ene arrived at
8: 12pm. Hopoi had his blue shirt on upon. arrival, He took it off at 8:13 pm and placed it

-on the floor board of the baggage cart. At 8:14 pm, they covered themselves with OTR’
_ containers. Ene was to the side and it appears that he was rifling mail until 8:19 pm, when

Affidavit | | Page 10

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 12 of 37

he walked to the side of the baggage cart and appeared to be stuffing mail on the side.

Hopoi was standing there on his phone while Ene was going through the mail. At 8:18 |

pm, Hopoi stood up on the baggage cart to look at the postal facility doors, presumably to

see if anyone was exiting the facility and entering his area. Hopoi finally began to start

transferring the mail from the baggage carts to the OTR containers at 8:19 pm. At 8:20,

_ pm, Ene went back to the side and appearred to rifle U.S. Mail. Ene then went out of view. .
Due to the concealment of the OTR container, it is difficult to tell when the shirt is
brought to the tug. Airport badge reports reflect that the badge assigned to Ene was used_
to exit the facility at 8:46 pm. |

26. Inthe surveillance video, on June 26, 2018, at 10:24 pm, Hopoi and Ene
were working outgoing mail. Ene reached down inside the side of the baggage cart and
grabbed a grey package in his right hand. Ene walked to the passenger side of the tug and
placed the bag behind the passenger seat.

27. Inthe surveillance video, on June 27, 2018, Su arrived at 12:36 pm. Su
appeared to be rifling mail inside the baggage cart multiple times starting at 12:38 — 12:40
pm. Su had parked on the opposite side of the view of the cameras, so I am observing him

-on Video through the screen of the baggage cart. It appears that he was taking off the
straps from the trays of mail and rifling the U.S. Mail on multiple occasions. It also
appeared that he placed the stolen U.S. Mail under his shirt tucked into his shorts. At
12:41 pm, Su grabbed the straps from the ground and floor board of the baggage cart and
placed them into his pocket. A USPS employee began to walk up. Su pushed the OTR cart
containing the mail towards the employee, and.he left at 12:42pm.

28. In the surveillance video, on June 27, 2018, Hopoi arrived by himself. At
11:53 pm, he took off his sweatshirt and safety vest while watching an USPS employee
walk away. Hopoi placed the clothing items inside the baggage cart, on the floorboard to
the right side. At 12:16 am, he pulled an OTR container towards him to cover him, and

. the USPS employee pulled an additional container to him. At 12:17 am, Hopoi removed a:

Affidavit | _— Page 11
Case 2:18-cr-00149-JAM Documenté6 Filed 07/18/18 Page 13 of 37

tray of U.S. Mail from the OTR container and placed it back into the baggage cart. At
12:18 am, Hopoi looked around, as if to-see if anyone was around, and began to open and
go through trays of mail for a minute. Hopoi stuffed the stolen U.S. Mail to the right side
of the baggage cart, where his sweatshirt was placed. Hopoi began to look around again
and appeared to push the sweatshirt towards the back of the cart as a USPS employee
entered the area. At 12:21 am, Hopoi placed another OTR container in front of him, as if
for concealment purposes. Hopoi appeared to open a tray of U.S. Mail, stopped to look for -
USPS employees, and then rifled multiple trays of U.S. Mai! which were placed in the
OTR container. At 12:22 am, Hopoi placed something on the floorboard of the baggage
cart and returned to the OTR container. Hopoi transferred some trays of mail from one
OTR container to another, looked for USPS employees, and then stole more US. Mail,
which he concealed inside of his sweatshirt. At 12:24 am, Hopoi retrieved a tray of mail
from the outside of the baggage cart and placed it inside the baggage cart on the
floorboard. Hopoi again looked for USPS employees. It appeared that he opened that tray
of U.S. Mail and rifled the U.S, Mail for approximately one minute, At 12:25 am, Hopoi
stabbed mail from the OTR container and quickly concealed it in his sweatshirt, which
was placed on the right side of the baggage cart, as a USPS employee walked up. At
12:27 am, the sweatshirt can be seen on the right side of the cart. Hopoi was watching for
USPS employees, and it appears from the video that the area was clear, Hopoi retrieved
his sweatshirt from the baggage cart, held it inside his forearm, walked to the tug, and
placed the items on the passenger side. a
29. On June 29, 2018, I prepared a test piece of mail, which was a bright
, yellow Hallmark greeting card envelope with a P.O. Box address on the outside. Inside the
envelope was a birthday card and a $20.00 gift card to Home Depot. The test piece was
placed underneath multiple trays of mail in an OTR container that was scheduled to be
picked up for an American Airlines flight leaving on June 30, 2018, at 12:40 am. In the
surveillance video, Ene arrived to transfer the U.S. Mail from the posta! facility to the

Affidavit | : Page 12
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 14 of 37

baggage carts for the flight. On video, I observed Ene reach down and appear to grab an
item. When Ene stood up, he looked around for any USPS employees in the area. Ene had
‘the item in his left hand and placed it in his left pocket of his shorts. On video, I observed
the item to be a bright yellow envelope. The yellow envelope never arrived at the address |
on the envelope. T have not yet learned from Home Depot whether the gift card has been —
used. .

Other Investigative Steps and Evidence

30. On June 19, 2018, Inspector Jennifer Hiland and I met with Sacramento
Sheriff's Department at the airport and informed them about the investigation. On the
same day, we met with Sacramento Airport Manager of Security, Badging and
Communications Center, Joe Conklin, and advised him of the investigation. Due to the
investigation, it was approved by Sacramento Sheriff's Department and Airport Security
that USPIS personnel would gain Sacramento Airport access badges to continue the —
investigation. | |

31. The Airport Security and Badging office provided copies of the Security
Badge Application for Domingo Ene, Joshua, Hopoi, and Raymond Su. Those
applications included California driver’s license numbers and addresses. Ene’s address
was listed as (MMII Roseville, CA 95747. Su’s address was listed as

HE Sacramento, CA 95825. Hopoi’s address was listed as address,
a Rocklin, CA. However, through postal records from the Rocklin
Post Office, I learned that the [MEN address was vacant. A records check was

| conducted using CLEAR, a law enforcement database used to locate addresses of |
individuals. A EE Hopoi was associated with Fo but the records also —
showed that {iE Hopoi had (BM, Penryn, CA and a new address of |
ee. Sacramento, CA. A records check with the Penryn, CA Post Office on
iz. Penryn, CA reflected that Josh Hopoi was also listed as eligible to receive

Affidavit Page 13
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 15 of 37

mail at this PO Box. The local post office that delivers to ANN
Sacramento, CA, confirmed that the last name receiving mail is Hopoi. As described
below, surveillance was also conducted on Hopoi on July 2, 2018, and law enforcement
followed him to his new address, EE Sacramento, CA.
. 32. On June 21, 2018, I prepared a test piece of mail, which was a white
envelope that contained a Hallmark greeting card with a P.O, Box address on the outside.
| Inside the envelope was a graduation card and a $20.00 gift card to Walmart, gift card
number a 2726,” The test piece was placed underneath multiple trays of mail in
an OTR container that was scheduled to be picked up for an American Airlines flight later
that evening. Based on surveillance video, it was difficult to tell if the card was stolen. |
However, Postal Supervisor Mora) searched the area after the Envoy employees left the
facility, and he could not locate the envelope. It was also not turned in to postal
management. It has not arrived at the address listed on the envelope. On July 8, 2018, I
obtained information from Walmart Loss Prevention that the gift card.that I had placed in
the white test piece on June 21, 2018, was used on June 27, 2018. Walmart loss
prevention provided a copy of the Walmart receipt, showing gift card number “(EE
2726” was used at the Walmart located at 30600 Dyer Street, Union City, CA 94587, A
surveillance camera exit photo eraph was provided by Walmart Loss.Prevention, and the
appearance of the person leaving the store is consistent with Domingo Ene.

33. On June 25, 2018, I spoke with Postal Office of Inspector General Special
Agent (SA) Warner about the case (Postal OIG conducts employee theft investigations).
SA Wamer stated he had received a mail theft complaint dated April 9, 2018, from a
. _ victim in Illinois who had mailed a greeting card to Redding, CA. When the card and
envelope was received, the envelope was ripped in half and the gift card was missing.
Victim R.F. stated that he had mailed a card and that the contents of the card did not arrive
with the card upon delivery. The victim reported the card contained a $50.00 Amazon gift
card, The recipient of the card provided the gift card receipt, which was delivered with the

Affidavit | | | - Page 14

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 16 of 37

card. Based on the receipt information, Walgreens provided the Amazon gift card number.
SA Warner subpoenaed Amazon for the records of the Amazon gift card. |

_ 34, Amazon provided the subpoenaed information on June 20, 2018, to SA
Warmer. Amazon records reflect that victim R.F.’s Amazon gift card for $50.00 was

registered to Domingo Ene’s personal Amazon account. Ene’s personal email address |

registered to his Amazon account Ti This email address
(GEE) is also listed on Ene’s Airport Security Badge Application.
Amazon records indicate the address for Ene is 1722 Grey Bunny Drive, Roseville, CA

95747, Amazon provided information related to the purchase using the gift card. The
purchase was jewelry listed as LoveBling 10K Yellow Gold 2mm 28” Diamond Cut Rope
Chain Necklace with Lobster Lock, which cost $155.00. Amazon records reflect the
purchase was conducted on May 10, 2018, and was shipped via USPS Priority Mail with
tracking number 9310 8201 1140 2692 3918 66. USPS records indicate that Ene received
an Amazon package at J Roseville, CA 95747 on May 12, 2018,
with tracking number 9310 1140 2692 3918 66. Additional Amazon records indicate
there have been 14 gift cards registered to Ene’s Amazon account since August 9, 2017,
for a total of $620.00. Envoy employment records indicate that Ene started work at
Sacramento Airport on June 2, 2017. These 14 gift cards fall within his dates of
employment. . |
35. Envoy employment records indicate that Su started work at Sacramento

Airport on February 10, 2017.

36. On July 2, 2018, Postal Inspectors La’Keisha Abram and I, and Placer
County TFO Noah Brommeland conducted surveillance at the Sacramento Airport. I
confirmed with Sacramento Airport Badging and Security personne! that both Hopoi and
Su were currently working, According to their work schedule, they were scheduled to
work until 1:30 pm. I observed Hopoi and Su leave their security area behind the ticket

counter and leave through the door between the Delta and United Airlines ticket counters.

Affidavit a | - Page 15

 
Case 2:18-cr-00149-JAM Document 6 Filed 07/18/18 Page 17 of 37

Hopoi was wearing dark shorts and a long sleeve blue shirt, which he has been seen
wearing on video. Hopoi also had a black backpack, which he was carrying over his left
shoulder. Su was wearing dark shorts and a grey t-shirt, and he carried a black backpack
over both shoulders. They both exited the terminal and walked to employee parking lot
51, TFO Brommeland observed them walking into the parking lot, and Inspector Abram.
observed them leave in a blue Toyota Corolla, CA license plate J Su was
observed as the driver and Hopoi was observed in the passenger seat. At approximately
1:39 pm, law enforcement observed them leaving the parking lot, and we followed the
vehicle to MIS Sacramento, CA. As stated above, USPS records had
previously indicated that this was the address for Hopoi. At approximately 2:10pm, law
enforcement observed Hopoi exit the passenger side of the vehicle with his backpack and
walk into the residence. I know from my training and experience that people who steal
U.S. Mail will generally take the mail into their residence so they can open, review, and .
catalog their gains in the privacy of their own residence. Also, through my training and
experience, I know that people who steal U.S. Mail will often use the stolen goods to
make purchases online using the stolen gift cards and/or credit cards.

37. After Hopoi was dropped off at his residence, law enforcement entered the
known residence of Su into their GPS system and learned the residence was within a few |
miles of Hopoi’s residence. Law enforcement followed the vehicle to
Sacramento, CA and observed the garage door open. At approximately 2:20 pm,
the vehicle driven by Su was parked on the left side of the driveway, and law enforcement
observed Su exit the driver side of the vehicle with his backpack and enter the residence.
This address is the same address listed on Su’s Security Badge Application and was also
verified by USPS address verification with his local delivery post office. .

38. = On July 9, 2018, law enforcement conducted a “trash run” at
fF Sacramento, CA, which is known to be Hopoi’s address, as described above. |
Their house numbers are located on the right side by the garage door. The residence had 3

Affidavit . Page 16

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 18 of 37

trash receptacles, which were located outside their residence on the street, just to the left

of their driveway. One receptacle was for trash, one receptacle for recycle, and one

receptacle for green waste. A review of the trash located two different gray plastic bags.

- Each bag contained over 50 greeting cards and envelopes, addressed to people throughout
the nation, for a total of approximately 113 greeting cards. All the envelopes obtained via
the “trash run” were already opened. and contents rifled. There were multiple envelopes
that contained checks and money orders, which were thrown away with the contents. The
check amounts included $25.00, $30.00, $40.00, $50.00, $100.00, $1000.00, and

_ $3216.00. There was a cashier’s check for $1,500.00 and a Western Union money order
for $80.00.

39. On July 11, 2018, law enforcement conducted a “trash run” at [I
FY Sacramento, CA, which is known to be Su’s address, as described above.
Their house numbers are located on the right side of the garage door. The residence had 2 |
trash receptacles, which were located outside their residence on the street curbside. One
receptacle was for trash, and the other receptacle was for recycling. A review of the trash
located 10 gift cards or backings of gift cards. With one possible exception, the names .
written on the gift cards or backings of gift cards do not match the names of persons
receiving mail at this address. According to postal records and a check in CLEAR, a law
enforcement database, names associated with the address are as
EEE The names listed on the gift cards and gift
card backings were Kalea, Marti from Pat, Paige from Duane and Shaun, David from
Maura, Mart from Sue and David, Karen, Allison from Bailey, and Ryan. There was one
Starbucks gift card that was listed as to “Ray-Ray” from Carole and Derek, so based on
the name alone, it is possible that card was actually given to Raymond Su. Additionally,
there were three register receipts, which show that gift cards were used on ail three
purchases. Specifically, there was a Visa Debit gift card ending 4517 used at a Disney
store located at 1689 Arden Way, Sacramento, CA, dated June 28, 2018. This Visa Debit

Affidavit . . Page 17

 
Case 2:18-cr-00149-JAM Documenté6 Filed 07/18/18 Page 19 of 37

card was also located in the trash and has the name “Kalea” and “$40” written on the top
of the card. Additionally, there is a Macy’s receipt, dated June 28, 2018, which reflects a
~Macy’s gift card in the amount of $50.00 was used, and a Home Depot receipt dated May
26, 2018, which reflects a gift card in the amount of $50.00 was used. Additionally, there
was U.S. Mail in the name of Raymond Su from American Express for a credit card offer
and Pep Boys. There was also torn UPS packing information for Su from Eastbay, which
isan online company for footwear and apparel.

40. Through my training and experience, and discussing the casé with other
law enforcement officials, I know that mail thieves need a place to hide the items that
were stolen so they can review them at a later time in private. Both Hopoi and Su have
been observed by law enforcement to carry backpacks when they start their shift and when
they end their shift. Since Hopoi and Su enter the postal facility multiple times during
their shifts, and it appears there are multiple thefts during the day, they would need to
conceal the stolen U.S. Mail until the end of their shifts. The Envoy employees have a
private room that is considered their break room and locker room. Both Hopoi and Su
have lockers that are assigned to them, and the lockers are to be used to store their
personal belongings (including backpacks) while they are working their shift at the —
airport. ,

41. According to an Envoy manager, the Envoy locker room is located in
Terminal A, on the ground floor. The locker room contains bays of lockers on three walls.

On the tight side of the locker room, there is a bay of tan lockers which contains 18 —
lockers. The bay of lockers on the right side has three rows of lockers and each row has
six lockers. Josh Hopoi’s locker is in the second row and is listed with a sticker that says
“Joshua”. His locker is the fourth locker from the right side.

42. According to the Envoy manager, on the left side of the locker room, there
is a bay of tan lockers which contain 9 lockers, The bay of lockers on the left side has
three rows of lockers and each row has three lockers. Raymond Su’s locker is in the

Affidavit Page 18

 
~“ ~ -
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 20 of 37

second row and his locker is the third locker from the right side. His locker has multiple
stickers on it and has a blue piece of paper with a sticker that says “Mine”. Su’s locker
has a black and silver pad lock on it and a white piece of paper that reads Raymond Su. |
43. Ene was fired from his employment with Envoy on July 4, 2018, because
of time and attendance issues. .
44. Based upon my training and experience in mail theft investigations, I know _
that suspects often take the stolen U.S. Mail they obtained illegally to their residences so
they can open the U.S. Mail in private, and will store the contents in their residences, and

especially their bedroom or offices until ready to use.

COMPARABILITY WITH PRIOR INVESTIGATIONS AND EXPERIENCE .

45. Based upon my training and experience, my conversations with other law
enforcement personnel assisting in this case, and my investigation in this case, I am aware
that persons involved in mail theft, along with their conspirators/accomplices, use mobile

cell phones, tablets, and computer laptops to communicate with one another, either by
voice calls, emails, and/or text messages regarding their fraud and theft activities, I know
that perpetrators who use such devices commonly exchange real time information about
theft and fraud activity and other information regarding execution of theft or fraudulent
transactions. Such information can be found stored in the text/email messages and images
on such devices. Such persons also use the devices to link with the internet to obtain
addresses and maps and locations/addresses of victims. Such devices can also be used to
remotely make online fraudulent purchases. Such devices can also be used to perform
false or fraudulent mobile banking operations and checks (verifications).

46, Based upon my training and experience, my conversations with other law
_enforcement personnel assisting in this case, and my investigation in this case,I am aware
that the complete contents of text messages, image files, and emails may be important to
establishing the actual user who has dominion and control of a particular phone or

computer at a given time. Cell phones may be subscribed to under false names with little

Affidavit | : : , Page 19

 
Case 2:18-cr-00149-JAM Documenté6 Filed 07/18/18 Page 21 of 37

to no verification by the service provider. Cell phones and computers may also be used by |
multiple people. Given the ease with which such items may be obtained and used, and the
rarity with which law enforcement has eyewitness testimony about a defendant’s use of a
particular cell phone or device that was used to send a particular text or email message,
investigators often have to rely on circumstantial evidence’ to show that an individual was
the actual user of a particular cell phone or device. Often, by piecing together information
contained in the contents of the device (cell phane or computer or storage device) an
investigator can establish the identity of the actual user. Often, those pieces will come
- from a time period before the device was used in criminal activity. Limiting the scope of
the search for information showing the actual user of the device would, in some instances, |
prevent the government from identifying the user of the device and, in other instances,
allow a defendant to possibly suggest that someone else was responsible. Therefore, the
entire content of a communication device often provides important evidence regarding the
actual user’s dominion and control of the device. Moreover, review of the contents of
communications of electronic storage devices, including text and email messages sent or
received by the subject device, assist in determining whether other individuals had access
- to the device. | | |
47, Based upon my training and experience, my conversations with other law
enforcement personnel assisting in this case, and my investigation in this case, I am aware
that criminals discussing their criminal activity via electronic communication devices .
(email and text messaging) may use images, slang, short forms (abbreviated words or
phrases such as “lol” to express “laugh out loud”), or code words (which require entire
strings or series of text message conversations to determine their true meaning) when
discussing their crimes. They can also discuss aspects of the crime without specifically
mentioning the crime involved. It is even possible to use pictures, images and emoticons
(images used to express a concept or idea such as a happy face inserted into the content of

a text message or the manipulation and combination of keys on the computer keyboard to

Affidavit : | Page 20

 
~ : | ~ |
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 22 of 37 .

convey an idea, such as the use of a colon and paren :) to convey a smile or agreement) to
discuss matters. “Keyword searches” or other automated methods of review of the text
messages sent to and from the subject device would not account for any of these
possibilities, so actual review of the text and email messages by law enforcement —

- personnel with information regarding the identified criminal activity is necessary to find
all relevant evidence. |

48. Based upon my training and experience, my conversations with other law
enforcement personnel assisting in this case, and my investigation in this case, I have
learned the following additional information: —

(a) Individuals who steal, misdirect, take, unlawfully possess, or by fraud or
deception obtain, U.S, Mail often maintain the U.S. Mail, and its contents, including gift
cards, for long periods of time to exceed months. Such individuals will also scan onto
computers, cell phones, and computer storage devices stolen mail or fraudulently obtained
mail (and its contents) and maintain on computers, cell phones, and storage devices co-
conspirators names, victim’s names, addresses (of victims, associates, accomplices), and
stolen means of identification, to include images of such, thereby reducing such items”
exposure to law enforcement and the community. Individuals use their cell phones and
personal computers to make online purchases using gift cards to order items that will be .
shipped to their residences. .

(b) [am aware that even if a perpetrator deletes evidence of criminal activity
(such as identity theft, and fraudulent use of financial information in U.S, Mail) from
electronic storage devices, the evidence often can be recovered from the devices, .
including computers or other forms of electronic storage media.

49. Based on my knowledge, training, and experience, I know that electronic
devices can store information for long periods of time. Similarly, things that have been
viewed via the Internet are typically stored for some period of time on the device. This

- information can sometimes be recovered with forensics tools.

Affidavit : . Page 21

 
- Case 2:18-cr-00149-JAM Document 6 Filed 07/18/18 Page 23 of 37

50. Thereiis probable cause to believe that things that were once stored on any
electronic devices located at the locations enumerated in Attachment A may still be stored
there, for at least the following reasons:

(a) Based on my knowledge, training, and experience, I know that computer
files or remnants of such files can be recovered months or even years after they have been —
downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic files
downloaded to a storage medium can be stored for years at little or no cost. Even when
files have been deleted, they can be recovered months or years later using forensic tools.
This is so because when a person “deletes” a file on a computer, the data contained in the
file does not actually disappear; rather, that data remains on the storage medium until it is
overwritten by new data.

(b) | Therefore, deleted files, or remnants of deleted files, may reside in free
space or slack space-that is, in space on the storage medium that is not currently being
used by an active file-for long periods of time-before they are overwritten. In addition, a
computer's operating system may also keep a record of deleted data in a “swap” or
“recovery” file.

(c) - Wholly apart from user-generated files, computer storage media-in
particular, computers! interna! hard drives-contain electronic evidence of how 2 computer
has been used, what it has been used for, and who has used it. To give a few examples,
this forensic evidence can take the form of operating system configurations, artifacts from’
operating system or application operation, file system data structures, and virtual memory
“swap” or paging files. Computer users typically do not erase or delete this evidence,
because special software is typically required for that task. However, it is technically
_ possible to delete this information. __ |
(d) Similarly, files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary Internet directory or “cache.”

Affidavit _ Page 22

 
Case 2:18-cr-00149-JAM Documenté6 Filed 07/18/18 Page 24 of 37

Sl. Forensic evidence. As further described in Attachment B, this application
seeks permission to locate not only electronically stored information that might serve as
direct evidence of the crimes described on the warrant, but also forensic evidence that
establishes how electronic devices were used, the purpose of their use, who used them,

and when. There is probable cause to believe that this forensic electronic evidence might
be on the electronic devices found because: |

(a) Data on the storage medium can provide evidence of.a file that was once
on the storage medium but has since been deleted or edited, or of a deleted portion of a
file (such as a paragraph that has been deleted from a word processing file). Virtual
memory paging systems can leave traces of information on the storage medium that show

. what tasks and processes were recently active. Web browsers, e-mail programs, and chat
programs store configuration information on the storage medium that can reveal |
information such as online nicknames and passwords. Operating systems can record —
additional information, such as the attachment of peripherals, the attachment of USB flash
storage devices or other external storage media, and the times the computer was in use. |
Computer file systems can record information about the dates files were created and the
sequence in which they were created.

(b) Forensic evidence on a device can also indicate who has used or controlled
the device. This “user attribution” evidence is analogous to the search for “indicia of
occupancy” while executing a search warrant at a residence.

(c) A person with appropriate familiarity with how an electronic device works. ”
may, after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the purpose of their use, who used.
them, and when.

(d) | The process of identifying the exact electronically stored information ona
storage medium that are necessary to draw an accurate conclusion is a dynamic process.

Electronic evidence is not always data that can be merely reviewed by a review team and

Affidavit | | , Page 23

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 25 of 37.

passed along to investigators. Whether data stored on a computer is evidence may depend
on other information stored on the computer and the application of knowledge about how
- acomputer behaves. Therefore, contextual information necessary to understand other

. evidence also falls within the scope of the warrant.

(e) Further, in finding evidence of how a device was used, the purpose of its
use, who used it, and when, sometimes it is necessary to establish that a particular thing is
not present on a storage medium.

.  (f) I know that when an individual uses an electronic device, the individual's
electronic device will generally serve both as an instrumentality for committing the crime,
and also as a storage medium for evidence of the crime. The electronic device is an
instrumentality of the crime because it is used as a means of committing the criminal
offense. The electronic device is also likely to be a storage medium for evidence of crime.
From my training and experience, I believe that an electronic device used to commit a.
crime of this type may contain: data that is evidence of how the electronic device was
used; data that was sent or received; and other records that indicate the nature of the
offense. |

. 52. Necessity of seizing or copying entire computers or storage media. In most
cases, a thorough search of a premises for information that might be stored on storage
media often requires the seizure of the physical storage media and later off-site review
. consistent with the warrant. In lieu of removing storage media from the premises, it is
sometimes possible to make an image copy of storage media. Generally speaking, —
imaging is the taking of a complete electronic picture of the computer’s data, including all
hidden sectors arid deleted files. Either seizure or imaging is often necessary to ensure the
accuracy and completeness of data recorded on the storage media, and to prevent the loss.

of the data either from accidental or intentional destruction. This is true because of the

following:

Affidavit 7 | | : Page 24

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 26 of 37

(a) The time required ‘for an examination. As noted above, not all evidence takes
the form of documents and files that can be easily viewed on site. Analyzing evidence of
how a computer has been used, what it has been used for, and who has used it requires
considerable time, and taking that much time on premises could be unreasonable. As
explained above, because the warrant calls for forensic electronic evidence, it is
exceedingly likely that it will be necessary to thoroughly examine storage media to obtain
evidence. Storage media can store a large volume of information. Reviewing that
information for things described in the warrant can take weeks or months, depending on
the volume of data stored, and would be impractical and invasive to attempt on-site.

(b) Technical requirements. Computers can be configured in several different
ways, featuring a variety of different operating systems, application software, and

configurations. Therefore, searching them sometimes requires tools or knowledge that ©
might not be present on the search site. The vast array of computer hardware and software
available. makes it difficult to know before a search what tools or knowledge will be
required to analyze the system and its data on the Premises. However, taking the storage
media off-site and reviewing it in a controlled environment will allow its examination
with the proper tools and knowledge. -

(c) Variety of forms of electronic media, Records sought under this warrant could
be stored ina variety of storage media formats that may require off-site reviewing with
specialized forensic tools. |

53. Nature of examination. Based on the foregoing, and consistent with Rule
41(eX2)(B), the warrant I am applying for would permit the examination of electronic

devices consistent with the warrant. The examination may require authorities to employ
techniques, including but not limited to computer-assisted scans of the entire medium, that
| might expose many parts of a device to human inspection in order to determine whether it

is evidence described by the warrant.

Affidavit == | | | Page 25

 
| aN | -
Case 2:18-cr-00149-JAM _Document6 Filed 07/18/18 Page 27 of 37

54, Manner of execution. Because this portion of the warrant—seeking
forensic examination of electronic devices found—seeks only permission to examine
| device(s) that would be already in law enforcement’s possession, the execution of the
forensic examination would not involve the physical intrusion onto a premises.
Consequently, I submit there is reasonable cause for the Court to authorize execution of
such examination at any time in the day or night following the seizure of the device.

55. Because several people share the addresses listed in Attachment A as a
residence, it is possible that the locations will contain storage media that are
predominantly used, and perhaps owned, by persons who are not suspected ofa crime. If
it is nonetheless determined that that it is probable that the things described in this warrant
could be found on any of those computers or storage media, the warrant applied for would
permit the seizure and review of those items as well. |

CONCLUSION

56. For the reasons stated above, there is probable cause to believe that
DOMINGO ENE, JOSHUA HOPOI, and RAYMOND SU committed one or more ©
violations of 18 U.S.C. § 1708, and that evidence, fruits, contraband, and instrumentalities
~ of these violations, as more fully described in Attachment B, hereby fully incorporated
herein, may be found at the locations identified in Attachment A, attached and fully

incorporated herein.

REQUEST TO SEAL | |
57. This case is the product of a covert investigation. Based on my training
and experience in investigations such as this one, I believe that public disclosure of the
existence of this affidavit, complaint, arrest warrants and/or search warrants may have a
significant and negative impact on the continuing investigation and may severely _

jeopardize law enforcement efforts to execute the warrants. Also, premature disclosure

Affidavit Page 26

 
Case 2:18-cr-00149-JAM Document 6 Filed 07/18/18. Page 28 of 37

may pose a risk to executing law enforcement. It is respectfully requested that this Court
issue an order sealing, until further order of the Court, all papers submitted in support of
this affidavit, the accompanying search warrant, and application.

Qos Saas

Roxanne LeMaire
US. Postal Inspector
United States Postal Inspection Service

Approved as to form.

iriam R. Hinman
__ Assistant United States Attorney

Ble

 

Subscribed and swom to before me this /@day of July, 2018.

~

by ——— bi

THE HONORABLE ALLISON CLAIRE
UNITED STATES MAGISTRATE JUDGE

Affidavit Page 27

 
 

~ a
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 29 of 37

ATTACHMENT A-1

The residence of| Po Roseville, CA is described as follows:

The residence is a 2 story house with the numbers listed to the left of the 2 car garage. The

numbers are listed in black with a white background. The house is grey stucco with white .

trim and rock trim.

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 30 of 37

ATTACHMENT A-2
The residence of fT Sacramento, CA is described as follows:
The residence is a single story house with the numbers listed to the right of the 2 car
garage. The numbers are listed in black. The house is tan stucco with brown trim. The |
garage door is white and is missing the top panel. There is a black security screen door,

which opens to the left side. The front windows contain black rod iron security bars.

 

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 31 of 37 ©

ATTACHMENT A-3

The locker described as follows: Inside the Envoy locker room at Sacramento |

. International Airport, which is located in terminal A, on the ground floor, their locker |
room contains bays of lockers on three walls. On the right side of the locker room, there is
| a bay of tan lockers, which contains 18 lockers. The bay of lockers on the right side has
three rows of lockers and each row has six lockers. Josh Hopoi’s locker is in the second

. Tow and is listed with a sticker that says “Joshua.” His locker is the fourth locker from the
right side. |

 

 
Case 2:18-cr-00149-JAM Documenté6 Filed 07/18/18 Page 32 of 37

ATTACHMENT A-4

The residence of EEE Sacramento, CA is described as follows:

The residence is a single story house with the numbers listed to the right of the 2 car

garage, which is tan in color. The numbers are listed in black with a white background.

The house is tan panels with off white trim and a shingle room. The front door has a tan

security screen door which opens to the left.

 

 
 

-_~, : a,
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 Page 33 of 37

ATTACHMENT A-5

California license plate EEE registered to a,

ee od Toyota Corolla with

  

EEE Sacramento, CA.

 

 
 

_~ aa
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 - Page 34 of 37

ATTACHMENT A-6

_ The locker described as follows: Inside the Envoy locker room at Sacramento -
International Airport, gibick is located in terminal A, on the ground floor, their locker
room contains bays of lockers on three walls. On the left side of the locker room, there isa
bay of tan lockers which contains 9 lockers. The bay of lockers on the left side has three
rows of lockers and each row has three lockers. Raymond Su’s locker is in the second row
and his locker is the third locker from the right side. His locker has multiple stickers on it
and has a blue piece of paper with a sticker that says “Mine.” Su’s locker has a black and

silver pad lock on it and a white piece of paper that reads Raymond Su.

 

ean

 
 

Case 2:18-cr-00149-JAM Documenté6 Filed 07/18/18 Page 35 of 37

ATTACHMENT A-7

Raymond SU is an Asian male adult, approximately 56”, with black hair and brown eyes.
His date of birth Ss} His photograph appears below.

The search of SU shall include his person, clothing, and personal belongings, including
backpacks, briefcases and bags, that are within his immediate vicinity and control at the
location where the search warrant is executed and that may contain the items called for by

| Attachment B to this warrant.

 

 
Case 2:18-cr-00149-JAM Documenté6 Filed 07/18/18 Page 36 of 37

ATTACHMENT B

The evidence to be searched for and seized concerns violations of Title 18, United States
Code, Section 1708 (theft and possession of stolen U.S, Mail), between February 2017
and the present, in whatever form, whether physical, digital, electronic, or otherwise, and
is described in the enumerated list below.

1, Items and information tending to identify persons exercising dominion and control
over the location or particular areas within the location, including correspondence,
papers, photos, videos, bank statements, credit card statements, receipts, utility bills,
emails, internet transaction records, parcels, mail, and clothing.

2. United States mail, identification documents, greeting cards, and access devices
bearing the names of, or otherwise tending to pertain to, persons who do not live at or
control the location. .

3. Documents, records, and information relating to the contents of mail or property in the
names of persons who do not live at or control the location, together with indicia of
the possession, control, ownership or use of such mail or property.

4, Gift cards and documents, records, and information pertaining to the possession,
control, ownership, or use of gift cards, including items obtained through transactions
involving gift cards.

_ 5. Documents, records, and information tending to show how money associated with the
theft or possession of U.S. Mail was obtained, secreted, transferred, and/or spent,
including online purchases and electronic transfers of funds.

| 6. Records and information related to e-mail or other online accounts associated with
transactions involving gift cards, including the email account
and the Amazon account identified by that email address.

7. Communications between Domingo Ene, Joshua Hopoi, and/or Raymond Su that
pertain to mail, gift cards, theft, or items stolen from the mail, or that tend to show a
conspiracy or agreement.

8. With respect to “digital devices” (defined below), in addition to all of the categories
described in the preceding Paragraphs ] through 13 above, items and information to be
seized include any electronic records, including e-mail messages, text messages,
videos, electronic documents, images, and/or data:

a. tending to identify persons exercising dominion and control over each
digital device searched;

b. tending to place in context, identify the creator or recipient of, or establish
the time of creation or receipt of any electronic information responsive to
Paragraphs | through 13 above.

“Digital devices” means computers, computer tablets (e.g., iPads), electronic .
storage devices (e.g., hard drives, thumb drives), and mobile phones. The seizure

 
Case 2:18-cr-00149-JAM Document6 Filed 07/18/18 ‘Page 37 of 37

and search of digital devices shall follow the procedures outlined in the supporting
affidavit. Deleted data, remnant data, slack space, and temporary and permanent
files on the digital devices may be searched for the evidence above.

 
